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 1
                           UNITED STATES DISTRICT COURT
 2                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 3
          AMICHAI OHRING,
 4
                               Plaintiff,
 5
              v.                                        C21-359 TSZ
 6
          UNISEA, INC.; and Does 1 through              MINUTE ORDER
 7        100, inclusive,

 8                             Defendants.

 9
          The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
10
           (1)   This matter comes before the Court on remand from the United States
11 Court of Appeals for the Ninth Circuit. See Mandate (docket no. 48); Memorandum
   (docket no. 45). Pursuant to the Ninth Circuit’s memorandum disposition, defendant’s
12 motion to compel arbitration, docket no. 18 is GRANTED, and the parties are
   DIRECTED to arbitrate this matter.
13
           (2)   The Court STAYS the proceedings pending the outcome of arbitration
14 pursuant to 9 U.S.C. § 3. See Ekin v. Amazon Servs., LLC, No. C14-0244-JCC, 2015
   WL 11233144, at *1 (W.D. Wash. Feb. 10, 2015).
15
           (3)   The parties are DIRECTED to file a Joint Status Report within fourteen
16 (14) days after the completion of arbitration or by December 31, 2022, whichever occurs
   earlier.
17
           (4)   The Clerk is directed to send a copy of this Minute Order to all counsel of
18 record.

           Dated this 15th day of June, 2022.
19

20                                                  Ravi Subramanian
                                                    Clerk
21
                                                    s/Gail Glass
22                                                  Deputy Clerk
23

     MINUTE ORDER - 1
